                                   UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF WISCONSIN



In re: ALLUVIUM FUND LLC                                          §                 Case No. 19-29613
       fka Greenpoint Tactical Income Fund LLC                    §
                                                                                    Lead Case No. 19-29613
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 03/31/2024                                                            Petition Date: 10/04/2019



Plan Confirmed Date:05/19/2022                                                       Plan Effective Date: 05/19/2022


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity:
                                                                                     Name of Authorized Party or Entity




/s/ Annette Kaja                                                        Annette Kaja
Signature of Responsible Party                                           Printed Name of Responsible Party
04/17/2024
Date
                                                                        34334 Valley Road, Oconomowoc, WI 53066
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

 a. Total cash disbursements                                                                           $75,695             $7,039,030
 b. Non-cash securities transferred                                                                          $0                    $0
 c. Other non-cash property transferred                                                                      $0                    $0
 d. Total transferred (a+b+c)                                                                          $75,695             $7,039,030

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current     Paid
                                                                              Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor              Aggregate Total
                                                                                         $0    $4,679,401             $0    $4,065,032
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Steinhilber Swanson LLP            Lead Counsel                         $0    $2,306,557             $0    $1,732,337
        ii       Freeborn & Peters                  Other                                $0    $1,159,076             $0    $1,159,076
        iii      Morris Anderson                    Financial Professional               $0      $672,718             $0       $672,718
        iv       Husch Blackwell LLP                Special Counsel                      $0       $26,520             $0              $0
        v        Phoenix                            Other                                $0      $189,793             $0       $189,793
        vi       Clifton Larson Allen LLP           Financial Professional               $0       $41,806             $0        $41,806
        vii      Tucker Arensberg, P.C.             Other                                $0       $87,245             $0        $87,245
        viii     Latimer LaVey Fyock, LLC           Special Counsel                      $0       $21,390             $0        $21,390
        ix       Braganca Law LLC                   Special Counsel                      $0      $140,165             $0       $140,165
        x        Kopecky Schumacher RosenberSpecial Counsel                              $0       $20,502             $0        $20,502
        xi       Landsman Saldinger Carroll         Special Counsel                      $0       $13,629             $0              $0
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                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                  $193,983    $1,011,408        $65,225       $544,821
        Itemized Breakdown by Firm
                 Firm Name                         Role
        i        Braganca Law                      Special Counsel                      $0            $0             $0            $0
        ii       Landsman Saldinger Carroll        Special Counsel                      $0       $34,751             $0        $34,751
        iii      Steinhilber Swanson LLP           Other                                $0      $333,233             $0        $17,388
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        vii      Smith Gambrell Russell      Lead Counsel                 $146,959     $415,869     $54,984       $267,046
        viii     Phoenix Management Services Other                         $38,432     $185,867      $8,808       $156,242
        ix       Clifton Larson Allen LLP    Financial Professional         $8,592      $41,688      $1,433        $69,394
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c.          All professional fees and expenses (debtor & committees)                       $0              $0           $0             $0

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                   % Paid of
                                                  Payments          Paid Current                                               Allowed
                                                 Under Plan           Quarter           Paid Cumulative     Allowed Claims      Claims
 a. Administrative claims                             $1,461,354               $0               $745,905         $9,240,134          8%
 b. Secured claims                                             $0              $0                    $0                  $0          0%
 c. Priority claims                                            $0              $0                    $0                  $0          0%
 d. General unsecured claims                          $1,095,373                   $0           $835,145          $1,095,373        76%
 e. Equity interests                                           $0              $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                            Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         03/31/2024
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                  Yes     No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Annette Kaja                                                      Annette Kaja
Signature of Responsible Party                                         Printed Name of Responsible Party
Managing Member                                                        04/17/2024
Title                                                                  Date




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                                                         Bankruptcy Table 51-100




                                                         Non-Bankruptcy Table 1-50




                                                        Non-Bankruptcy Table 51-100




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THE HUNTINGTON NATIONAL BANK
PO BOX 1558 EA1W37
COLUMBUS OH 43216-1558




               ALLUVIUM FUND LLC                                                                            Have a Question or Concern?
               34334 VALLEY RD
               OCONOMOWOC WI 53066-4922                                                                     Stop by your nearest
                                                                                                            Huntington office or
                                                                                                            contact us at:

                                                                                                            1-800-480-2001

                                                                                                            www.huntington.com/
                                                                                                                businessresources

Huntington Unlimited Plus Checking                                             Account: -------8416
Statement Activity From:                           Beginning Balance                               $0.00
0 3 / 0 1 / 2 4 to 0 3 / 3 1 / 2 4                 Credits (+)                                95,688.34
                                                      Wire Transfer Credits                    95,686.38
Days in Statement Period                  31          Interest Earned                               1.96
                                                   Total Service Charges (-)                        0.00
Average Ledger Balance*              77,166.43     Ending Balance                            $95,688.34
Average Collected Balance*           77,166.43
* The above balances correspond to the
service charge cycle for this account.




Average Percentage Yield Earned this period 0.029%



Other Credits (+)                                                                                                Account:-------8416
Date                    Amount       Description

03/07                 95,686.38      INCOMING FEDWIRE TRANSFER
03/29                        1.96    INTEREST PAYMENT



Service Charge Summary                                                                                           Account:-------8416

Previous Month Service Charges (-)                             $0.00
Total Service Charges (-)                                      $0.00


Balance Activity                                                                                                 Account:-------8416
Date                                 Balance       Date                           Balance      Date                               Balance

02/29                                    0.00      03/07                         95,686.38     03/29                             95,688.34




Investments are offered through the Huntington Investment Company, Registered Investment Advisor, member FINRA/SIPC, a wholly-owned
subsidiary of Huntington Bancshares Inc.
The Huntington National Bank is Member FDIC.        , Huntington and 24-Hour Grace are federally registered service marks of Huntington
Bancshares Incorporated. The 24-Hour Grace system and method is patented: US Pat. No. 8,364,581, 8,781,955, 10,475,118, and others
pending. 8 2024 Huntington Bancshares Incorporated.
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In the Event of Errors or Questions Concerning Electronic Fund Transfers (electronic deposits, withdrawals, transfers,
payments, or purchases), please call either 1-614-480-2001 or call toll free 1-800-480-2001, or write to The Huntington National Bank Research
- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
information about an electronic fund transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared.
    1. Tell us your name, your business's name (if appropriate) and the Huntington account number (if any).
    2. Describe the error or the transaction you are unsure about, and explain as clearly as you can why you believe there is an error or why
        you need more information.
    3. Tell us the dollar amount of the suspected error. We will investigate your complaint or question and will correct any error promptly.

Verification of Electronic Deposits If you authorized someone to make regular electronic fund transfers of money to your account at
least once every sixty days, you can find out whether or not the deposit has been received by us, call either 1-614-480-2001 or call toll free
1-800-480-2001.

Balancing Your Statement - For your convenience, a balancing page is available on our web site https://www.huntington.com/pdf/balancing.pdf
and also available on Huntington Business Online.




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                IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT(S)

i. New language has been added to the Business Account Charges Form to further explain the Personal Checking
   Account Relationship benefit on your Unlimited Plus Business Checking account. Section 6 of your Business
   Account Charges Form is now replaced with the following:

        Personal Checking Account Relationship Benefit
        The business can avoid the monthly checking maintenance fee for any statement period on this checking
        account when a business owner maintains a personal Huntington Platinum Perks Checking Account,
        Private Client Checking Account, or a SmartInvest Checking Account through that same statement
        period. Business ownership for the purposes of this benefit is defined as a 25% or greater beneficial
        ownership interest and is determined by information in Huntington's client records. To update business
        ownership information please contact (800) 480-2001 or visit your nearest branch. To remove the benefit
        of a personal relationship, the owner of the personal checking account will need to contact (800) 480-2001.

 Please retain this information for your records.




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